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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

    PETER J. MESSITTE                                                             6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                    GREENBELT, MARYLAND 20770
                                                                                         301-344-0632


                                                 MEMORANDUM

       To:             Counsel of Record & Unrepresented Defendants & Relief Defendants

       From:           Judge Peter J. Messitte

       Re:             Federal Trade Commission v. Ecological Fox, LLC et al.
                       Civil No. PJM 18-3309

       Date:           February 25, 2019

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       The Court proposes the following schedule for the Motions Hearing on Friday, March 1, 2019. The
       Motions are listed in the order in which the Court proposes to hear them, along with the estimated
       total time the parties will have for their arguments:

       Motions Hearing, March 1, 2019, 10:00 a.m.

             1. Pukke’s Motion for Recusal (ECF No. 174) (15 minutes)

             2. Pukke’s Motion to Transfer (ECF No. 65) (15 minutes)

             3. Pukke’s Motion to Dismiss (ECF No. 161) (30 minutes)

             4. AIBL’s Motion to Dismiss (ECF No. 166) (30 minutes)

             5. FTC’s Motion to Consolidate (ECF No. 8) (15 minutes)

             6. AIBL’s Motion for Entry of Corrected Interim Preliminary Injunction (ECF No. 38) (15

                minutes)

             7. Pukke’s Motion to Strike the January 15, 2019 Deposition of Andris Pukke (ECF No. 165)

                (15 minutes)

             8. Pukke’s Motion to Strike Receiver’s February 22, 2019 Report (ECF No. 223) (15 minutes)

             9. FTC’s Motion in Limine to Admit Declarations (ECF No. 154) (15 minutes)


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      10. FTC’s Motion for Discovery Order Limiting Discovery Propounded on the FTC (ECF No.

         203) (15 minutes)

      11. AIBL’s Motion to Seal Portions of its Revised Opposition to the FTC's Motion for

         Preliminary Injunction (ECF No. 206) (15 minutes)

      12. Pukke’s Motion for a Modification of the Temporary Restraining Order to Unfreeze Assets

         (ECF No. 207) (15 minutes)

      13. Pukke’s Motion for Permission to Attend via Videoconferencing at Preliminary Injunction

         Hearing (ECF No. 209) (10 minutes)

      14. Pukke’s Motion for Permission for Witnesses to Testify Remotely via Videoconference

         (ECF No. 208) (10 minutes)

      15. Peter Baker’s wife Paula Kudrjavceva’s Motion to Unfreeze Bank Account (ECF No. 217)

         (10 minutes)


The parties may suggest modifications to this schedule by no later than noon on Wednesday,
February 27. If the Court agrees with any of the proposed modifications, it will issue a subsequent
Memorandum Order setting out the schedule for the March 1 hearing.

If you have any questions, please contact the Court’s law clerk, Ben Symons, at (301) 344-3655 or
at Benjamin_Symons@mdd.uscourts.gov. If he is unavailable, please contact the Court’s other law
clerk, Clare Riva, at (301) 344-3654 or at Clare_Riva@mdd.uscourts.gov

Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk is
directed to docket it accordingly.



                                                             /s/

                                                      Peter J. Messitte
                                                      United States District Judge

cc:      Court File




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